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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION


 Bright Data Ltd.,

                 Plaintiff,                                         Civil Action No.
                                                                  2:19-cv-00395-JRG
                 v.

 Teso LT, UAB, Oxysales, UAB, and
 Metacluster LT, UAB,

                 Defendants.


                      AGREED MOTION TO CONTINUE TRIAL SETTING

       Plaintiff Bright Data Ltd. (“Bright Data”) and Defendants Teso LT, UAB, Oxysales, UAB

and Metacluster LT, UAB (collectively, “Oxylabs”) file this Agreed Motion to Continue Trial

Setting (the “Motion”) and respectfully request that the Court continue the September 13, 2021

jury selection date and trial setting to the earliest convenient date for the Court following the Jewish

holiday of Yom Kippur.

       Currently, this case is set for a one-week jury trial beginning with jury selection on

September 13, 2021. The Jewish holiday of Yom Kippur begins at sundown September 15 and

concludes at sundown September 16, 2021. As such, Oxylabs’ trial counsel, Mr. Leventhal, and

its invalidity expert witness, Dr. Freedman, will be unable to attend trial during that period as

Jewish tradition, which both Mr. Leventhal and Dr. Freedman observe, require attendance at

religious services and refraining from all work activities.1 Certain of Bright Data’s witnesses, many

of whom are citizens of Israel, also observe the holiday. For these reasons, the parties respectfully



   1
       See https://www.pbs.org/newshour/nation/cheat-sheet-yom-kippur.
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request that the Court continue the trial setting to the earliest convenient date for the Court

following October 22, 2021.

          Trial counsel for Bright Data, including Mr. Cherian and Mr. Harkins, have another

previously set federal trial for two weeks starting on September 27, 2021.2 Oxylabs’ trial counsel

Mr. Govett has a previously set federal trial3 the week of October 11 and Oxylabs’ damages expert

is unavailable from October 11 to October 22 due to his wedding and honeymoon.

          If possible, the parties respectfully request that the pretrial conference date be maintained

to aid with trial preparation. The parties have filed five motions for summary judgment, five

Daubert motions, and other pretrial motions such as motions in limine. The Court’s rulings on

such motions will assist the parties with their respective trial preparations.

          Given the foregoing, the parties respectfully request that the Court continue the September

13, 2021 jury selection date and trial setting to the earliest convenient date for the Court after

October 22, 2021.




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          The Coleman Co., Inc. v. Team Worldwide Corp., 2:20-cv-351-RGD-RJK (E.D. Va), ECF
No. 26.
   3
          SPS Techs., LLC v. Briles Aerospace, Inc., 2:18-cv-09536-MWF-AS (C.D. Cal), ECF No.
792.
                                                   2
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Dated: August 6, 2021               Respectfully submitted,

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 Dated: August 6, 2021                       Respectfully submitted,

                                             s/Steven Callahan           .
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                             CERTIFICATE OF CONFERENCE

        The undersigned certifies that, on August 2, 2021 and August 6, 2021, he met and conferred
by telephone with counsel for Bright Data, Robert Harkins, Esq., and Bright Data has agreed to
the relief requested in the foregoing motion.

                                             s/Steven Callahan
                                             STEVEN CALLAHAN


                                CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing document was filed electronically in
compliance with Local Rule CV-5(a) on August 6, 2021. As such, this document was served on
all counsel who are deemed to have consented to electronic service. Local Rule CV-5(a)(3)(A).

                                             s/Steven Callahan
                                             STEVEN CALLAHAN




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